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                              PageID 4614




                EXHIBIT 5
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                                                 PageID 4615

Stephen Weil

From:                           Stephen Weil
Sent:                           Tuesday, January 28, 2025 2:01 PM
To:                             Silk, Jennie; Florence Johnson; Alexis Johnson; McKinney, Kelsey; Betsy McKinney;
                                Brooke Cluse; cgrice; Clyde W. Keenan; Darrell J. O'Neal; David Louis Mendelson I;
                                Deborah Godwin; ge@perrygriffin.com; Jarrett Michael Dean Spence; John Keith Perry
                                Jr.; Laura Elizabeth Smittick; lgross@perrygriffin.com; Martin Zummach; Mary Collins;
                                mistie@sparkman-zummach.com; Robert Spence; Terri Norman; McMullen, Bruce;
                                Reagan, Ian; Morris, Angela; Thompson, Theresa
Cc:                             Antonio Romanucci; Bhavani Raveendran; Colton Johnson Taylor; Dana Kondos; Joshua
                                Levin; Sam Harton; Sarah Raisch
Subject:                        Re: Wells v. City of Memphis et. al. - Ltr to Counsel re Schedule for Pleadings &
                                Discovery of Affirm. Defenses



Jennie and Bruce:

I am writing to follow up on our January 22 call regarding the City's supplemental response to Plaintiff
RFP No. 133.

You explained that aside from limited traditional production to the DOJ (which you have produced to us
and identified), the City provided documents to the DOJ by making several databases available to the
DOJ for downloading or other address. You stated that you do not know which particular documents /
ESI the DOJ downloaded or accessed from these databases, and that the DOJ had declined to provide
you with such information.

The databases you identified are as follows:

         The RMS (Record Management System) database, which contains a variety of police ESI. You
          stated that this system contains comprehensive police data such as reports and investigations,
          and that a variety of police activity generates entries in this system.



         The iaPro database, which contains MPD internal affairs ESI



         The CAD database, which contains dispatch ESI



         The Evidence.com database, which is maintained by Taser / Axon and stores police body camera
          videos (and, we presume, car videos—please correct us if that is wrong).

During our call Jennie stated that these were the databases she could remember “off the top of [her]
head.” Plaintiff asked Jennie to follow up and confirm which databases the City had provided, and she

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agreed to do so. JENNIE—Please confirm that this is an exhaustive list of the databases to which the
City provided the DOJ with access, or if there are more, please identify them.

Given that the City provided the DOJ with access to these databases, we asked during the call for the City
to provide Plaintiff with access to the same databases. The City refused. We are writing to set out and
address the parties’ positions regarding such access, as well as propose some additional means by
which documents / ESI might be provided to respond to RFP 133.

Confidentiality. You objected that the databases contained large amounts of sensitive private
information of civilians involved in police encounters. We responded that there is already a
confidentiality order in place to protect such information (ECF 213) and offered to discuss entering into a
more robust confidentiality order if you believed one was necessary. You did not respond. Though we
believe the current protective order is sufficient, that invitation remains open. Given your lack of follow-
up we assume you have not identified any such deficiencies.

Database fields. You objected that the City could not provide Plaintiff counsel with full access to the
RMS database because the database was likely to include ESI related to highly sensitive, ongoing
investigations. We asked to have access to the database fields that would permit us focus our review for
responsive information. You refused. We understand that we are at issue.

Claim that Plaintiff counsel would misuse database information. Bruce asserted that Plaintiff
counsel should not be provided with access to the databases provided to the DOJ because Plaintiff
counsel were “for-profit” plaintiff lawyers from Chicago who would use the information in the database
to seek out new clients. The protective order in this case, however, provides that parties may use
documents and information designated as Confidential only for this case (ECF 213 para. II(2)). Those
attorneys on this case who are from out of town are admitted pro hac vice and thus are subject to the
Court's authority to enforce the protective order. We offer to treat all documents and ESI in the RMS
database as Confidential under the protective order. It should go without saying that we have and will
abide by that order. Our invitation remains open to address any deficiencies you believe might exist in
the order, but you have identified none.

Scope. Jennie objected that RFP 133 was overbroad because the DOJ’s investigation was conducted
pursuant to a congressional mandate. That is simply wrong: DOJ pattern and practice investigations are
conducted pursuant to 34 USC § 12601, and the scope of Section 12601(a) is essentially the same as any
Monell claim. Section 12601(b) grants authority where the Attorney General has "cause to believe" there
is a pattern of violations, and in this case the DOJ's July 27, 2023 announcement makes plain that the
DOJ's investigation would "focus on MPD’s use of force and its stops, searches and arrests, as well as
whether it engages in discriminatory policing." Those topics are tightly congruent with the Monell
patterns and practices alleged in our case. Likewise virtually all of the DOJ's report, with the possible
exception of two short sections on the MPD's inappropriate approach to children and people with mental
disabilities, describes patterns and practices tightly linked to the MPD's beating of Mr. Nichols. Indeed
we made the point in our January 17 letter that the DOJ’s report, which was presented after gathering
extensive pattern and practice evidence from the City, maps very closely on Plaintiff’s Monell
allegations.

Setting aside this basic fact, we noted during our call that our request to review database fields could
help narrow and focus our ultimate review of documents in the RMS database. Your refusal to agree to
field review is thus doubly unreasonable.
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Evidence.com metadata and audit trails. It is our understanding that the database pursuant to which
videos are stored in Evidence.com contains both metadata and audit trails showing which videos were
viewed and accessed, and by whom. We therefore ask that the City identify how the DOJ was provided
access to the Evidence.com database. For example, was the DOJ provided with a particular password
or other means “key” for accessing Evidence.com data? We ask that you please be as descriptive as
possible. Please advise whether you will provide this information.

To sum up:

          By this Friday 1/31, we ask that you identify all databases that the City provided to the DOJ, if there
           are any besides the four databases identified here.



          We understand that we are at issue with respect to whether the City will provide us with field
           information for the RMS database and the other databases described in this email. If that is
           incorrect please let us know by this Friday 1/31.



          By this Friday 1/31, please advise us whether the City will agree to provide information on the
           DOJ’s login / access to the Evidence.com database, as well as sufficient permissions to gather all
           available audit information reflecting the DOJ’s activity on that site.

Best regards,

- Steve


Stephen H. Weil                                     e: sweil@rblaw.net
Senior Attorney                                     p: (312) 253-8592
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                                                    a: 321 N Clark St, Ste
                                                    900, Chicago, IL 60654



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                                                                                    3
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                                                   PageID 4618

From: Silk, Jennie <jsilk@bakerdonelson.com>
Sent: Monday, January 20, 2025 10:24 AM
To: Stephen Weil <SWeil@rblaw.net>; Florence Johnson <fjohnson@johnsonandjohnsonattys.com>; Alexis Johnson
<AJohnson@rblaw.net>; McKinney, Kelsey <kmckinney@bakerdonelson.com>; Betsy McKinney
<BMcKinney@gmlblaw.com>; Brooke Cluse <Brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde W.
Keenan <keenandl@aol.com>; Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis Mendelson I
<dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com <ge@perrygriffin.com>;
Jarrett Michael Dean Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura
Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com <lgross@perrygriffin.com>; Martin Zummach
<martin@sparkman-zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com
<mistie@sparkman-zummach.com>; Robert Spence <rspence@spencepartnerslaw.com>; Terri Norman
<TNorman@gmlblaw.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>; Reagan, Ian
<ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>; Thompson, Theresa
<tthompson@bakerdonelson.com>
Cc: Antonio Romanucci <aromanucci@rblaw.net>; Bhavani Raveendran <b.raveendran@rblaw.net>; Colton Johnson
Taylor <cjohnson@rblaw.net>; Dana Kondos <DKondos@rblaw.net>; Joshua Levin <JLevin@rblaw.net>; Sam Harton
<sharton@rblaw.net>; Sarah Raisch <sraisch@rblaw.net>
Subject: RE: Wells v. City of Memphis et. al. - Ltr to Counsel re Schedule for Pleadings & Discovery of Affirm. Defenses


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Those times are okay for us, although I defer to other counsel on the affirmative defense discussion.

Jennie Vee Silk
Phone 901.577.8212


        From: Stephen Weil <SWeil@rblaw.net>
        Sent: Monday, January 20, 2025 10:06 AM
        To: Silk, Jennie <jsilk@bakerdonelson.com>; Florence Johnson <fjohnson@johnsonandjohnsonattys.com>;
        Alexis Johnson <AJohnson@rblaw.net>; McKinney, Kelsey <kmckinney@bakerdonelson.com>; Betsy McKinney
        <BMcKinney@gmlblaw.com>; Brooke Cluse <Brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde
        W. Keenan <keenandl@aol.com>; Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis Mendelson
        I <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett
        Michael Dean Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura
        Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach <martin@sparkman-
        zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com; Robert Spence
        <rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; McMullen, Bruce
        <bmcmullen@bakerdonelson.com>; Reagan, Ian <ireagan@bakerdonelson.com>; Morris, Angela
        <amorris@bakerdonelson.com>; Thompson, Theresa <tthompson@bakerdonelson.com>
        Cc: Antonio Romanucci <aromanucci@rblaw.net>; Bhavani Raveendran <b.raveendran@rblaw.net>; Colton
        Johnson Taylor <cjohnson@rblaw.net>; Dana Kondos <DKondos@rblaw.net>; Joshua Levin <JLevin@rblaw.net>;
        Sam Harton <sharton@rblaw.net>; Sarah Raisch <sraisch@rblaw.net>
        Subject: RE: Wells v. City of Memphis et. al. - Ltr to Counsel re Schedule for Pleadings & Discovery of Affirm.
        Defenses

        Thanks Jennie.

        What times are you available Wednesday? We are most open after 2:00. To get the ball rolling I
        will propose Wednesday 2:00 p.m.

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                                         PageID 4619
Let’s also get a time on the books to talk about the City’s response to RFP 133. I will propose
Wednesday at 2:30 or whenever we finish the affirmative defenses call if that is earlier.

Please let me know if these times do NOT work for you. Plaintiff will circulate a dial-in.

     -      Steve


Stephen H. Weil                                     e: sweil@rblaw.net
Senior Attorney                                     p: (312) 253-8592
                                                    f: (312) 458-1004
                                                    a: 321 N Clark St, Ste
                                                    900, Chicago, IL 60654



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From: Silk, Jennie <jsilk@bakerdonelson.com>
Sent: Monday, January 20, 2025 9:38 AM
To: Stephen Weil <SWeil@rblaw.net>; Florence Johnson <fjohnson@johnsonandjohnsonattys.com>; Alexis
Johnson <AJohnson@rblaw.net>; McKinney, Kelsey <kmckinney@bakerdonelson.com>; Betsy McKinney
<BMcKinney@gmlblaw.com>; Brooke Cluse <Brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde
W. Keenan <keenandl@aol.com>; Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis Mendelson
I <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett
Michael Dean Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura
Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach <martin@sparkman-
zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com; Robert Spence
<rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; McMullen, Bruce
<bmcmullen@bakerdonelson.com>; Reagan, Ian <ireagan@bakerdonelson.com>; Morris, Angela
<amorris@bakerdonelson.com>; Thompson, Theresa <tthompson@bakerdonelson.com>
Cc: Antonio Romanucci <aromanucci@rblaw.net>; Bhavani Raveendran <b.raveendran@rblaw.net>; Colton
Johnson Taylor <cjohnson@rblaw.net>; Dana Kondos <DKondos@rblaw.net>; Joshua Levin <JLevin@rblaw.net>;
Sam Harton <sharton@rblaw.net>; Sarah Raisch <sraisch@rblaw.net>
Subject: RE: Wells v. City of Memphis et. al. - Ltr to Counsel re Schedule for Pleadings & Discovery of Affirm.
Defenses


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safe.

Steve,
                                                                        5
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We are not available for any of the proposed conferences tomorrow. Bruce and I will be in a
deposition. We have availability on Wednesday.

Thanks,

Jennie Vee Silk
Phone 901.577.8212


       From: Stephen Weil <SWeil@rblaw.net>
       Sent: Saturday, January 18, 2025 2:26 PM
       To: Florence Johnson <fjohnson@johnsonandjohnsonattys.com>; Alexis Johnson
       <AJohnson@rblaw.net>; Silk, Jennie <jsilk@bakerdonelson.com>; McKinney, Kelsey
       <kmckinney@bakerdonelson.com>; Betsy McKinney <BMcKinney@gmlblaw.com>; Brooke Cluse
       <Brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>;
       Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis Mendelson I
       <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett
       Michael Dean Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>;
       Laura Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach
       <martin@sparkman-zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-
       zummach.com; Robert Spence <rspence@spencepartnerslaw.com>; Terri Norman
       <TNorman@gmlblaw.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>; Reagan, Ian
       <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>; Thompson, Theresa
       <tthompson@bakerdonelson.com>
       Cc: Antonio Romanucci <aromanucci@rblaw.net>; Bhavani Raveendran <b.raveendran@rblaw.net>;
       Colton Johnson Taylor <cjohnson@rblaw.net>; Dana Kondos <DKondos@rblaw.net>; Joshua Levin
       <JLevin@rblaw.net>; Sam Harton <sharton@rblaw.net>; Sarah Raisch <sraisch@rblaw.net>
       Subject: RE: Wells v. City of Memphis et. al. - Ltr to Counsel re Schedule for Pleadings & Discovery of
       Affirm. Defenses

       Counsel thanks to those of you who responded; we got several Nos.

       It sounds as though we will need to take this up with the Court, and to do so we will need to
       hold a conference first.

       We propose January 21 at 10:30, which is 30 minutes after our proposed conference with
       the City regarding the DOJ report discovery. If that time does NOT work for you please let
       me know, and propose some alternate times and dates that work for you.

       As we prepare for the conference, we ask that you please consider alternatives to
       identifying your affirmative defenses in a pleading responsive to the complaint. For
       example, the parties might agree to have each of the defendants respond to a Rule 33
       interrogatory from Plaintiff asking them to identify their affirmative defenses and the facts
       supporting them. However we do it, our point is to get the defendants’ affirmative
       defenses identified in some form so that evidence about them can be gathered now, rather
       putting than requiring another delay in this case.

       Best regards,

       Steve

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                                                   PageID 4621

   Stephen H. Weil                                     e: sweil@rblaw.net
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   From: Florence Johnson <fjohnson@johnsonandjohnsonattys.com>
   Sent: Thursday, January 16, 2025 12:35 PM
   To: Alexis Johnson <AJohnson@rblaw.net>; Silk, Jennie <jsilk@bakerdonelson.com>; McKinney, Kelsey
   <kmckinney@bakerdonelson.com>; Betsy McKinney <BMcKinney@gmlblaw.com>; Brooke Cluse
   <Brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>;
   Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis Mendelson I
   <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett
   Michael Dean Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>;
   Laura Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach
   <martin@sparkman-zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-
   zummach.com; Robert Spence <rspence@spencepartnerslaw.com>; Terri Norman
   <TNorman@gmlblaw.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>; Reagan, Ian
   <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>; Thompson, Theresa
   <tthompson@bakerdonelson.com>
   Cc: Antonio Romanucci <aromanucci@rblaw.net>; Bhavani Raveendran <b.raveendran@rblaw.net>;
   Colton Johnson Taylor <cjohnson@rblaw.net>; Dana Kondos <DKondos@rblaw.net>; Joshua Levin
   <JLevin@rblaw.net>; Sam Harton <sharton@rblaw.net>; Stephen Weil <SWeil@rblaw.net>; Sarah
   Raisch <sraisch@rblaw.net>
   Subject: Re: Wells v. City of Memphis et. al. - Ltr to Counsel re Schedule for Pleadings & Discovery of
   Affirm. Defenses


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   Please note that Defendant Emmitt Martin objects to the proposal contained the letter of January
   13, 2025.

   Thank you.


   Florence M. Johnson
                                                                7
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                                   PageID 4622
   Johnson and Johnson, PC
   1407 Union Avenue
   Suite 1002
   Memphis, Tennessee 38104
   (901) 725-7520 Telephone
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   (901) 725-7570 Direct Facsimile
   http://www.linkedin.com/pub/florence-johnson/79/99b/439/




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   From: Alexis Johnson <AJohnson@rblaw.net>
   Sent: Monday, January 13, 2025 5:06 PM
   To: Silk, Jennie <jsilk@bakerdonelson.com>; McKinney, Kelsey <kmckinney@bakerdonelson.com>; Betsy
   McKinney <BMcKinney@gmlblaw.com>; Florence Johnson <fjohnson@johnsonandjohnsonattys.com>;
   Brooke Cluse <Brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan
   <keenandl@aol.com>; Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis Mendelson I
   <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com
   <ge@perrygriffin.com>; Jarrett Michael Dean Spence <jspence@spencepartnerslaw.com>; John Keith
   Perry Jr. <jkp@perrygriffin.com>; Laura Elizabeth Smittick <support@smitticklaw.com>;
   lgross@perrygriffin.com <lgross@perrygriffin.com>; Martin Zummach <martin@sparkman-
   zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com
   <mistie@sparkman-zummach.com>; Robert Spence <rspence@spencepartnerslaw.com>; Terri Norman
   <TNorman@gmlblaw.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>; Reagan, Ian
   <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>; Thompson, Theresa
   <tthompson@bakerdonelson.com>
   Cc: Antonio Romanucci <aromanucci@rblaw.net>; Bhavani Raveendran <b.raveendran@rblaw.net>;
                                           8
 Case 2:23-cv-02224-MSN-atc                          Document 324-5                   Filed 03/04/25           Page 10 of 10
                                                       PageID 4623
       Colton Johnson Taylor <cjohnson@rblaw.net>; Dana Kondos <DKondos@rblaw.net>; Joshua Levin
       <JLevin@rblaw.net>; Sam Harton <sharton@rblaw.net>; Stephen Weil <SWeil@rblaw.net>; Sarah
       Raisch <sraisch@rblaw.net>
       Subject: Wells v. City of Memphis et. al. - Ltr to Counsel re Schedule for Pleadings & Discovery of Affirm.
       Defenses

       Dear Counsel,

       Please see the attached letter regarding the schedule for pleadings and discovery of affirmative
       defenses.

       Thank you!

       Alexis Johnson                                      e: ajohnson@rblaw.net
       Paralegal                                           p: (312) 253-8826
                                                           f: (312) 458-1004
                                                           a: 321 N Clark St, Ste
                                                           900, Chicago, IL 60622



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that our address record can be corrected. Thank you very much.




                                                                    9
